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                                                    18
                                                    19                      UNITED STATES DISTRICT COURT
                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                    20                                      Case No.: 2:20-cv-04297
                                                        ALLEN BRODETSKY,
                                                    21 Individually and on Behalf of All
                                                        Others Similarly Situated,          COMPLAINT FOR DAMAGES
                                                    22                                      AND INJUNCTIVE RELIEF
                                                    23               Plaintiff,             PURSUANT TO THE
                                                                                            TELEPHONE
                                                    24                                      CONSUMER PROTECTION
                                                        v.
                                                    25                                      ACT, 47 U.S.C. § 227, ET SEQ.
                                                        SYNC BROKERAGE, INC.,
                                                    26                                      JURY TRIAL DEMANDED
                                                    27                Defendant.
                                                    28

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                                                     1                                   INTRODUCTION
                                                     2 1. ALLEN BRODETSKY (“Mr. Brodetsky” or “Plaintiff”), brings this class action
                                                     3       complaint for damages, injunctive relief, and any other available legal or
                                                     4       equitable remedies, resulting from the illegal actions of SYNC BROKERAGE,
                                                     5       INC., (“Sync Brokerage” or “Defendant”) and its related entities, subsidiaries and
                                                     6       agents, in negligently, knowingly, and/or willfully contacting Plaintiff on
                                                     7       Plaintiff’s cellular telephone, in violation of the Telephone Consumer Protection
                                                     8       Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading Plaintiff’s privacy.
                                                     9 2. Plaintiff alleges as follows upon personal knowledge as to himself and his own
                                                    10       acts and experiences, and, as to all other matters, upon information and belief,
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                                                    11       including investigation conducted by his attorneys.
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                                                    12                              JURISDICTION AND VENUE
                                                    13 3. This Court has federal question jurisdiction because this case arises out of
                                                    14       violations of federal law. 47 U.S.C. §227(b).
                                                    15 4. Venue is proper in the United States District Court for the Central District of
                                                    16       California pursuant to 18 U.S.C. § 1391(b), because Plaintiff resides in this
                                                    17       district, the events giving rise to Plaintiff’s causes of action against Defendant
                                                    18       occurred within this district and Defendant conducts business in the County of
                                                    19       Los Angeles.
                                                    20                                         PARTIES
                                                    21 5. Plaintiff is, and at all times mentioned herein was, an individual citizen and
                                                    22       resident of the County of Los Angeles, City of Tarzana, in the State of California.
                                                    23 6. Plaintiff is informed and believes, and thereon alleges, that Sync Brokerage is,
                                                    24       and at all times mentioned herein was, a corporation whose principal place of
                                                    25       business is located at 22020 Clarendon Street, Suite 200, Woodland Hills,
                                                    26       California, 91367.
                                                    27 7. Upon        information     and    belief,   the    website    for    Defendant     is
                                                    28       www.syncbrokerage.com.

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                                                     1 8. Sync Brokerage is, and at all times mentioned herein was, a corporation and a
                                                     2       “person,” as defined by 47 U.S.C. § 153(39).
                                                     3 9. Plaintiff is informed and believes, and thereon alleges, that at all times relevant
                                                     4       Defendant conducted business in the State of California and in the County of Los
                                                     5       Angeles.
                                                     6                              FACTUAL ALLEGATIONS
                                                     7 10. Beginning in or around August of 2019 through approximately April of 2020,
                                                     8       Plaintiff received text messages on his cellular telephone ending in “0831” from
                                                     9       short message script (“SMS”) 484-848.
                                                    10 11. Upon information and belief, short message script 484-848 is registered to and/or
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                                                    11       regularly used by Defendant.
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                                                    12 12. To date, Plaintiff has received at least 15 text messages from Defendant.
                                                    13 13. At least some of the text messages invited Plaintiff to call telephone numbers
                                                    14       (818) 614-4380, (818) 239-6270, or (818) 770-3660.
                                                    15 14. At least one of the text messages requested that Plaintiff “Join #SYNC, the
                                                    16       Pioneers of the new era in Real Estate, where massive office space and agent
                                                    17       quantity does not define quality.”
                                                    18 15. At least some of the text messages advertised of real estate open houses.
                                                    19 16. At least one of the test messages included the web link “http://tapit.us/yJp1p”.
                                                    20 17. At least one of the test messages included the web link “http://tapit.us/teRsx”.
                                                    21 18. Upon information and belief, nearly all of the text messages were an effort to
                                                    22       solicit Defendant’s business.
                                                    23 19. These text messages were unwanted by Plaintiff.
                                                    24 20. The text messages did not advise Plaintiff of the ability to stop receiving text
                                                    25       future messages by texting “Stop” or similar term.
                                                    26 21. Upon information and belief, Defendant obtained Plaintiff’s cell phone number
                                                    27       from a source other than Plaintiff.
                                                    28

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                                                     1 22. Plaintiff did not provide consent for Defendant to send these text messages
                                                     2       Plaintiff’s cellular telephone at any point in time, pursuant to 47 U.S.C. § 227
                                                     3       (b)(1)(A).
                                                     4 23. Upon information and belief, the SMS text messages were sent using equipment
                                                     5       that had the capacity to store or produce telephone numbers to be called using a
                                                     6       random or sequential number generator, and to dial such numbers.
                                                     7 24. Upon information and belief, the SMS text messages were sent using equipment
                                                     8       that had the capacity to, and does, automatically dial a stored list of telephone
                                                     9       numbers.
                                                    10 25. Upon information and belief, the SMS text messages were sent using equipment
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                                                    11       that can sent text messages en masse in a short period of time.
                           Costa Mesa, California




                                                    12 26. These SMS text messages made by Defendant or its agents were sent in violation
                                                    13       of 47 U.S.C. § 227(b)(1).
                                                    14                            CLASS ACTION ALLEGATIONS
                                                    15 27. Plaintiff brings this action on behalf of himself and all others similarly situated
                                                    16       (the “Classes”).
                                                    17 28. Plaintiff represents, and is a member of, the Class, consisting of:
                                                    18
                                                                        All persons within the United States who received any text
                                                    19                  messages from Defendant or its agent/s and/or employee/s
                                                    20                  to said person’s cellular telephone made through the use
                                                                        of any automatic telephone dialing system within the four
                                                    21                  years prior to the filing of the Complaint.
                                                    22
                                                    23 29. Plaintiff represents, and is a member of, the Sub-Class, consisting of:
                                                    24
                                                                        All persons within the United States who received any text
                                                    25                  messages from Defendant or its agent/s and/or employee/s
                                                    26                  to said person’s cellular telephone sent using short
                                                                        message script 484-848 within the four years prior to the
                                                    27                  filing of the Complaint.
                                                    28

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                                                     1 30. The Class and Sub-Class are jointly referred to as the Classes.
                                                     2 31. Defendant and its employees or agents are excluded from the Classes. Plaintiff
                                                     3       does not know the number of members in the Classes, but believes the members
                                                     4       of the Classes number in the hundreds, if not substantially more. Thus, this
                                                     5       matter should be certified as a Class action to assist in the expeditious litigation
                                                     6       of this matter.
                                                     7 32. Plaintiff and members of the Classes were harmed by the acts of Defendant in at
                                                     8       least the following ways: Defendant illegally contacted Plaintiff and the members
                                                     9       of the Classes via their cellular telephones, thereby causing Plaintiff and the Class
                                                    10       members to incur certain cellular telephone charges or reduce cellular telephone
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                                                    11       time for which Plaintiff and the Class members previously paid, and invading the
                           Costa Mesa, California




                                                    12       privacy of Plaintiff and the Class members. Plaintiff and the members of the
                                                    13       Classes were damaged thereby.
                                                    14 33. This suit seeks only damages and injunctive relief for recovery of economic
                                                    15       injury on behalf of the Classes and it expressly is not intended to request any
                                                    16       recovery for personal injury and claims related thereto. Plaintiff reserves the
                                                    17       right to expand the Class and Sub-Class definitions to seek recovery on behalf of
                                                    18       additional persons as warranted as facts are learned in further investigation and
                                                    19       discovery.
                                                    20 34. The joinder of the members of the Classes is impractical and the disposition of
                                                    21       their claims in the Class action will provide substantial benefits both to the parties
                                                    22       and to the court.
                                                    23 35. There is a well-defined community of interest in the questions of law and fact
                                                    24       involved affecting the parties to be represented. The questions of law and fact to
                                                    25       the Class predominate over questions which may affect individual members, of
                                                    26       the Classes including the following:
                                                    27             a. Whether, within the four years prior to the filing of the Complaint,
                                                    28                 Defendant sent any text messages (other than a call made for emergency

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                                                     1                 purposes or made with the prior express consent of the called party) to
                                                     2                 members of the Classes using any automatic telephone dialing system
                                                     3                 to any telephone number assigned to a cellular telephone service;
                                                     4             b. Whether the text messages constitute telemarketing requiring prior
                                                     5                 express written consent;
                                                     6             c. Whether Defendant sent any non-confirmatory text messages after
                                                     7                 having received a request from the consumer for text messages to cease;
                                                     8             d. Whether Plaintiff and the Class members were damaged thereby, and
                                                     9                 the extent of damages for such violation; and
                                                    10             e. Whether Defendant should be enjoined from engaging in such conduct
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                                                    11                 in the future.
                           Costa Mesa, California




                                                    12 36. As a person that received at least one text message using an automatic telephone
                                                    13       dialing system, without Plaintiff’s prior express written consent, including after
                                                    14       having revoked any consent that may have existed, Plaintiff is asserting claims
                                                    15       that are typical of the Class. Plaintiff will fairly and adequately represent and
                                                    16       protect the interests of the Class in that Plaintiff has no interests antagonistic to
                                                    17       any member of the Classes.
                                                    18 37. Plaintiff and the members of the Classes have all suffered irreparable harm as a
                                                    19       result of Defendant’s unlawful and wrongful conduct. Absent a class action, the
                                                    20       Classes will continue to face the potential for irreparable harm. In addition, these
                                                    21       violations of law will be allowed to proceed without remedy and Defendant will
                                                    22       likely continue such illegal conduct. Because of the size of the individual Class
                                                    23       member’s claims, few, if any, Class members could afford to seek legal redress
                                                    24       for the wrongs complained of herein.
                                                    25 38. Plaintiff has retained counsel experienced in handling class action claims and
                                                    26       claims involving violations of the Telephone Consumer Protection Act.
                                                    27 39. A class action is a superior method for the fair and efficient adjudication of this
                                                    28       controversy. Class-wide damages are essential to induce Defendant to comply

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                                                     1       with the law. The interest of Class members in individually controlling the
                                                     2       prosecution of separate claims against Defendant is small because the maximum
                                                     3       statutory damages in an individual action for violation of privacy are minimal.
                                                     4       Management of these claims is likely to present significantly fewer difficulties
                                                     5       than those presented in many class claims.
                                                     6 40. Defendant has acted on grounds generally applicable to the Class, thereby
                                                     7       making appropriate final injunctive relief and corresponding declaratory relief
                                                     8       with respect to the Class and Sub-Class as a whole.
                                                     9                              FIRST CAUSE OF ACTION
                                                    10       NEGLIGENT VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT,
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                                                    11                                     47 U.S.C. § 227 ET SEQ.
                           Costa Mesa, California




                                                    12 41. Plaintiff incorporates by reference all of the above paragraphs as though fully
                                                    13       stated herein.
                                                    14 42. The foregoing acts and omissions of Defendant constitute numerous and
                                                    15       multiple negligent violations of the TCPA, including but not limited to each and
                                                    16       every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                                    17 43. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
                                                    18       Plaintiff and the Class are entitled to an award of $500.00 in statutory damages,
                                                    19       for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                                    20 44. Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting
                                                    21       such conduct in the future.
                                                    22                            SECOND CAUSE OF ACTION
                                                    23        KNOWING AND/OR WILLFUL VIOLATION OF THE TELEPHONE CONSUMER
                                                    24                        PROTECTION ACT, 47 U.S.C. § 227 ET SEQ.
                                                    25 45. Plaintiff incorporates by reference all of the above paragraphs as though fully
                                                    26       stated herein.
                                                    27 //
                                                    28 //

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                                                     1 46. The foregoing acts and omissions of Defendant constitute numerous and
                                                     2       multiple knowing and/or willful violations of the TCPA, including but not limited
                                                     3       to each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
                                                     4 47. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
                                                     5       et seq., Plaintiff and each member of the Class are entitled to treble damages, as
                                                     6       provided by statute, up to $1,500.00, for each and every violation, pursuant to 47
                                                     7       U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
                                                     8 48. Plaintiff and the Class are also entitled to and seek injunctive relief prohibiting
                                                     9       such conduct in the future.
                                                    10                                 PRAYER FOR RELIEF
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                                                    11          Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the
                           Costa Mesa, California




                                                    12 members of the Classes the following relief against Defendant:
                                                    13          FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF THE TCPA,
                                                    14                                     47 U.S.C. § 227 ET SEQ.
                                                    15       • As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
                                                    16          Plaintiff seeks for himself and each Class member $500.00 in statutory
                                                    17          damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
                                                    18       • Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks for himself and the Class
                                                    19          injunctive relief prohibiting such conduct in the future.
                                                    20       • Costs of suit;
                                                    21       • Reasonable attorneys’ fees pursuant to, inter alia, the common fund doctrine.
                                                    22       • Any other relief the Court may deem just and proper.
                                                    23    SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL VIOLATION OF THE
                                                    24                              TCPA, 47 U.S.C. § 227 ET SEQ.
                                                    25       • As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §
                                                    26          227(b)(1), Plaintiff seeks for himself and each Class member treble damages,
                                                    27          as provided by statute, up to $1,500.00 for each and every violation, pursuant
                                                    28          to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

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                                                     1       • Pursuant to 47 U.S.C. § 227(b)(3)(A), Plaintiff seeks for himself and the Class
                                                     2          injunctive relief prohibiting such conduct in the future.
                                                     3       • Costs of suit;
                                                     4       • Reasonable attorneys’ fees pursuant to, inter alia, the common fund doctrine.
                                                     5       • Any other relief the Court may deem just and proper.
                                                     6                                     TRIAL BY JURY
                                                     7 49. Pursuant to the seventh amendment to the Constitution of the United States of
                                                     8       America, Plaintiff is entitled to, and demands, a trial by jury.
                                                     9
                                                    10 Date: May 12, 2020                               KAZEROUNI LAW GROUP, APC
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                                                    11
                                                                                                        By: /s Abbas Kazerounian
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